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                                IN THE UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION


Leila Green Little,     et   cii.,




      Plaintiffs,

                V.                                          Civil Action No. 1 :22-cv-00424-RP

Llano County,    etal.,


      Defendants.


  DECLARATION OF SUZETTE BAKER IN SUPPORT OF PLAINTIFFS' REPLY IN
       SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION

        I, Suzette Baker, declare:

                 I make this declaration based on personal knowledge. If called upon to testify, I

could and would testify competently to the following facts.

        2.       The Llano County Library System has three locations, Llano City, Kingsland, and

Lakeshore (Buchanan Dam). Each location has a head librarian that manages the location and

reports to the director. Head librarians are responsible for maintaining their location and ensuring

all maintenance and IT issues are reported to the appropriate department while keeping the

director in the loop. The head librarians are responsible for creating the schedules of employees

at their location, scheduling meeting room usage, and any emergency issues that may arise. Until

I was terminated in March 2022, I was the head librarian of the Library System's Kingsland

branch. Including my work at the Kingsland branch, I have worked as a librarian for a total of

eleven years.

                     The director of the library system is in charge of attaining purchase orders and

ordering books for the individual branches. The head librarian of each branch is in charge of
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compiling lists of books appropriate for each location and ensuring there is space for these

purchases. These lists are created on the retail sites of Ingram and Amazon, and include books

and DVDs. Each head librarian considers the unique demographics of their library while making

media considerations. They draw upon patron requests, best seller lists, and collection

knowledge. Upon verifying availability of selected media, head librarians submit these lists to

the director for purchase. The media is then delivered to the appropriate library and the head

librarian is tasked with adding them to the system.

       4.       The libraries maintain their collections using the "CREW" method of weeding.

"CREW" is an acronym that stands for "Continuous Review, Evaluation, and Weeding." To

identify eligible books for weeding, the CREW method uses the "MIJSTIE" factors. "MIJSTIE"

is an acronym that stands for:

                       isleading (and/or factually inaccurate)

                      gly (in poor physical condition)

                      uperseded (by a new editions or better book on the subject)

                    Irivial (of no discernible literary or scientific merit)

                    Jrrelevant to the needs and interests of the community

                     The material may be obtained expeditiously      1sewhere through Inter Library

                     loan or reciprocal borrowing.

                Twice a year, the library system has a "big weed," where librarians do a

comprehensive review of the books on shelves. Generally, these happen in February and August,

the slowest months for the library system. During these big weeds, books are assessed using the

CREW method. Books are judged on circulation and condition.
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        6.       The library system has set guidelines for when books are eligible for weeding due

to infrequent circulation. Non-fiction books are able to be weeded after five years of not

circulating, if their subject matter is no longer valid, if they are not unique to our system, or if in

poor condition. Fiction books are able to be weeded after three years of not circulating or if in

poor condition. Reference books are not weeded unless they are falling apart, or the library

system has duplicates.

        7.       Weeding is not done continuously unless there are extenuating circumstances. It

would place an unrealistic burden on librarians to be constantly looking for books to weed on a

day-to-day basis, which is why the library system schedules two "big weeds" in August and

February. Outside of the standard times for comprehensive weeds, books are occasionally

weeded if a patron returns them with damage or if they are lost.

        8.       I have reviewed the list of books that the Library System's director, Amber

Milum, has indicated were weeded according to standard practice in Fall and Winter of 2021.

Under my understanding of the applicable weeding factors, and the facts in the record regarding

these books, only one of those books, Freakboy, met applicable weeding standards.

        9.       The childrens' books I Broke My Butt and My Butt is So Noisy, both by Dawn

McMillan, were added to the Llano Library System on June 4, 2021, and were each circulated

four times. By library standards, that would make these very popular books and not eligible for

weeding.

        10.      The books I Need a New Butt (Dawn McMillan), and Larry the Farting

Leprechaun, Harvey the Heart Had Too Many Farts, Gary the Goose and His Gas on the Loose,

and Freddie the Fatting Snowman, all by Jane Bexley, should have been added to the system
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based on the popularity of the other books in this series. It is not standard practice to "weed"

books prior to their having been entered into circulation.

        11.    The book It's Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual

Health by Robie Harris is a non-fiction sex education book. This book was added to the system

in January 2006 and was last checked out in 2018. As a non-fiction book, this did not fit the

CREW method of weeding because it had not been five years since the last check out. If there

was concern that this book was not appropriate for children, it should have been placed in the

adult section, not weeded.

        12.    The book In the Night Kitchen by Maurice Sendak is a Caldecott Medal awarded

fiction children's book. It was added to the system in August of 1999 and was checked out 33

times, with the last checkout being in September 2020. Unless this book was in poor condition, it

should not have been weeded. If in poor condition, it should have been replaced due to

popularity.

        13.    The adult book Caste: The Origins of Our Discontents by Isabel Wilkerson is a

non-fiction book added to the system in December 2020. It was checked out three times, with the

last being January 2021. By Library System standards, this was a popular book and not eligible

for weeding. If it was in poor condition, it should have been replaced due to popularity.

        14.     The adult book They Called Themselves the KKK: The Birth of an American

Terrorist Group by Susan Campbell Bartoletti is a non-fiction book was added to the system in

May of 2011 and last checked out in August of 2011. Although the circulation of this book is

low, it is the only book in the Library System considering the history of the K.K.K., to my

knowledge. The uniqueness of the subject matter would make this book ineligible for weeding.
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        15.    The young adult book Spinning by Tillie Walden is an Eisner Award winning

non-fiction book added to the system in September 2018 and checked out four times, with the

last checkout being in May of 2019. As a non-fiction book, it does not meet the criteria for

weeding, given these circulation numbers.

        16.    The young adult book Being Jazz: My Life as a Transender Teen by Jazz

Jennings is a non-fiction book added to the system in October of 2016 and checked out in July of

2017. This book was never returned and should have been replaced, not weeded.

        17.    The young adult book Shine by Lauren Myracle is an Amelia Elizabeth Walden

Awarded fiction book was added to the system in January 2012, and last checked Out in July

2021. This book did not meet the criteria for weeding, given its recent circulation.

        18.    The young adult book Gabi: A Girl in Pieces by Isabel Quintero is a fiction book

that was added to the system in January 2016, and last checked out in June of 2018. This book

did not meet the criteria for weeding, given its circulation in the last three years.

        19.    The young adult book Freakboy by Kristin Elizabeth Clark is a fiction book that

was added to the system in January of 2015, and last checked out in June of 2016. Since this

book was not checked out in the last three years, it did meet a criteria for weeding.

       20.     I am also aware of Ms. Milum's claim that even if parental controls were

implemented, a child using OverDrive could have easily changed the settings to remove any

filters. If parental controls were implemented, OverDrive would have only been accessible to

children if their parents gave them unfettered access to devices that support the reading service.

The library system cannot act "in loco parentis." The Library System's Materials Policy states

that "[r]esponsibility for the reading of children rests with their parents or legal guardians.
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Selection should not be inhibited by the possibility that media may inadvertently come into

possession of children."

       21.     By shutting down the OverDrive reading service, the Director, County

Commissioners and County Judge removed library access for the handicapped and homebound

community within Liano County with no warning.

       22.     I am also aware that Ms. Milum has indicated that certain books that were

removed from shelves in Fall and Winter 2021 are now available via the library's "in-house

checkout" system. Prior to my termination in March 2022, I was not aware of any such "in-house

checkout" system. It appears to be a newly created program.

       23.     The American Library Association defines censorship as an "attempt to remove

material from curriculum of library, thereby restricting access of others." By making books

available for "in-house checkout," instead of entering books into the Library System and placing

them on the shelves, the director is censoring books available to the patrons of Liano County.

       24.     Furthermore, I am aware that Ms. Milum has stated that obtaining books via an

Inter Library loan is a viable alternative for certain books that were removed from shelves in Fall

and Winter 2021. During my time at the library, the Iiiter Library loan service was not regularly

used for multiple reasons. First, a book can take weeks to arrive via Inter Library loan. Second,

the patron would have to pay a postage fee of at least three dollars to obtain the book this way. In

the Kingsland branch, for example, many patrons are low income and could not afford to pay

three dollars for an individual book obtained via this service.

       25.     During my time as an employee of the Library System, I saw approximately 10

requests placed via the Inter Library loan service in three years. Librarians did not regularly

recommend to patrons that they use this service when the Library System did not have a book in
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stock. Moreover, only ALA and TILA-accredited libraries can be part of the Inter Library loan

system. If the Llano Library System were to lose its accreditation, it would no longer be able to

participate.

        26.     Prior to my termination in March 2022, the County collected my email

correspondence related to my official Library System duties. That email collection included

emails from the Yahoo account that I was instructed to set up to conduct official business for the

Library System prior to being provided a Library System email address. Ms. Milum and the

other librarians working within the Library System also had Yahoo accounts for conducting

official library business.



Dated: July 29, 2022                         By:     /c/ Suzette   Baker
                                                     Suzette Baker
                                                     With consent




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